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Case Number: 1:18 - CV - 00123 (PKC)(PK)


                          PROPOSED DISCOVERY PLAN
                                                                                    NOT
                                                                       DONE      APPLICABLE        DATE

 A. ACTIONS REQUIRED JKEFQReTHE INITIAL CONFERENCE

      1. Rule 26(Q Conference held                                       X


      2. Rule 26(a)(1) disclosures exchanged                                                      By 12/12/18


      3. Requests made:

             a.   Medical records authorization                                                  By 12/12/18

                                                                                    X
             b. Secdon 160.50 releases for arrest records

             c. Identificadon ofJohn Doe/Jane Doe defendants                        X



             d. Proposed Sdpuladon of Confidentiality                                             By 12/12/18


      4. Procedures for producing Electronically Stored                                           By 12/12/18
         Informadon (ESI) discussed

 B.

      1. Plaindff to make setdement demand                                                       12/31/2018



      2. Defendant to make setdement offer                                                       1/7/2019



      3. Referral to EDNY mediadon program pursuant to Local Rule 83.8?            X
         (If yes, enter date to be completed)

      4. Setdement Conference (proposed date)                                                   04/_/2019


 C. PROPOSED DEADLINES

      1. Modon to join new pardes or amend pleadings                                            1/21/2019


      2. Inidal documents requests and interrogatories                                           2/25/2019



      3. AU fact discovery to be completed (including disclosure of
                                                                                                10/25/2019
         medical records)

      4. Joint status report cerdfying close of fact discovery and                               10/30/20.19
         indicadng whether expert discovery is needed

      5. Expert discovery (only if needed)               Check here ifnot applicable □


                                                                                              Rev. 9-14-18
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Peggy Kuo
